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                                            UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 21-1460


        DARLENE STINGER; SHARON BUSH; TIA NEWTON,

                            Plaintiffs - Appellants,

                     v.

        FORT   LINCOLN           CEMETERY,         LLC;     SERVICE       CORPORATION
        INTERNATIONAL,

                            Defendants - Appellees.



        Appeal from the United States District Court for the District of Maryland, at Greenbelt.
        Theodore D. Chuang, District Judge. (8:20-cv-01052-TDC)


        Submitted: June 27, 2022                                          Decided: July 12, 2022


        Before MOTZ and KING, Circuit Judges, and TRAXLER, Senior Circuit Judge.


        Affirmed by unpublished per curiam opinion.


        ON BRIEF: Jack Jarrett, ALAN LESCHT AND ASSOCIATES, PC, Washington, D.C.,
        for Appellants. Lonnie J. Williams, Jr., STINSON LLP, Phoenix, Arizona; Brandon R.
        Nagy, STINSON LLP, Washington, D.C., for Appellees.


        Unpublished opinions are not binding precedent in this circuit.
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        PER CURIAM:

               Darlene Stinger, Sharon Bush, and Tia Newton (collectively, “Plaintiffs”) brought

        this action under the Fair Labor Standards Act (FLSA), 29 U.S.C. §§ 201 to 219, against

        their employer, Fort Lincoln Cemetery, LLC (“Fort Lincoln”), and a related holding

        company, Service Corporation International (“SCI”). Invoking the arbitration agreement

        that each Plaintiff had signed, Fort Lincoln and SCI (collectively, “Defendants”) moved to

        dismiss for improper venue. In response, Plaintiffs argued, among other things, that the

        arbitration agreement was substantively unconscionable. The district court disagreed and

        granted Defendants’ motion. Plaintiffs appeal, and we affirm.

               We review de novo a decision granting a Fed. R. Civ. P. 12(b)(3) motion to dismiss

        for improper venue. Sucampo Pharms., Inc. v. Astellas Pharma, Inc., 471 F.3d 544, 550

        (4th Cir. 2006). Likewise, we “review a district court’s determination regarding the

        arbitrability of a dispute de novo.” Lyons v. PNC Bank, Nat’l Ass’n, 26 F.4th 180, 185 (4th

        Cir. 2022). We consider the validity of an arbitration agreement by reference to the

        governing state law. Coady v. Nationwide Motor Sales Corp., 32 F.4th 288 (4th Cir. 2022).

        Here, the parties agree that Maryland law controls.

               In Maryland, “an arbitration agreement may be challenged on grounds of

        unconscionability.” Walther v. Sovereign Bank, 872 A.2d 735, 743 (Md. 2005). To prevail

        in this defense, a party must show that the agreement is “extreme[ly] unfair[], which is

        made evident by (1) one party’s lack of meaningful choice, and (2) contractual terms that

        unreasonably favor the other party.” Id. (internal quotation marks omitted). The latter

        concerns the element of substantive unconscionability, which might manifest in “terms that

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        attempt to alter in an impermissible manner fundamental duties otherwise imposed by the

        law, provisions that seek to negate the reasonable expectations of the nondrafting party,

        and terms unreasonably and unexpectedly harsh having nothing to do with central aspects

        of the transaction.” Stewart v. Stewart, 76 A.3d 1221, 1232 (Md. Ct. Spec. App. 2013)

        (cleaned up) (citing Walther, 872 A.2d at 744).

               As to the rules governing arbitration, the parties’ arbitration agreement adopted the

        Employment and Arbitration Rules and Procedure of JAMS (“JAMS Rules”), with one

        notable deletion. Specifically, the agreement omitted JAMS Rule 21, which allows a party

        to request, without need for a subpoena, another party to produce all witnesses in its employ

        or under its control for the arbitration hearing. JAMS Rule 21 also authorizes the arbitrator

        to issue subpoenas to facilitate document discovery and the attendance of witnesses at the

        hearing.

               In Plaintiffs’ view, the removal of JAMS Rule 21 renders the arbitration agreement

        substantively unconscionable. Specifically, Plaintiffs worry that, without live testimony

        or third-party document discovery, they will be unable to show the number of hours they

        worked or the willfulness of the FLSA violations they allege.

               As we have recognized, “[b]ecause limited discovery is a consequence of perhaps

        every agreement to arbitrate, it cannot, standing alone, be a reason to invalidate an

        arbitration agreement.” In re Cotton Yarn Antitrust Litig., 505 F.3d 274, 286 (4th Cir.

        2007). Rather, Plaintiffs must “show[] that the terms of the arbitration agreement would

        preclude them from effectively vindicating their statutory rights.” Id. Critically, “[t]his

        burden is a substantial one and cannot be satisfied by a mere listing of ways that the

                                                     3
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        arbitration proceeding will differ from a court proceeding, or by speculation about

        difficulties that might arise in arbitration.” Id. at 286-87.

               Here, we conclude that Plaintiffs have failed to discharge their substantial burden

        of demonstrating that the omission of JAMS Rule 21 precludes them from vindicating their

        statutory rights. JAMS Rule 17(a), for example, requires that parties to the arbitration

        engage in good faith, voluntary exchange of relevant, nonprivileged evidence, which

        presumably would include payroll records indicating how many hours Plaintiffs worked.

        And JAMS Rule 17(b) allows Plaintiffs to depose at least one opposing witness, thus

        providing them an opportunity to probe the willfulness of the alleged FLSA violations. At

        bottom, we find that Plaintiffs have failed to establish that the arbitration agreement is

        substantively unconscionable. *

               Accordingly, we affirm the district court’s judgment. We dispense with oral

        argument because the facts and legal contentions are adequately presented in the materials

        before this court and argument would not aid the decisional process.

                                                                                            AFFIRMED




               *
                   Plaintiffs also contend that, at a hearing before the district court, Defendants “blue-
        penciled” the arbitration agreement by making certain concessions that, in effect, softened
        the effect of JAMS Rule 21’s removal. Not only is Plaintiffs’ argument severely
        undeveloped, but also Plaintiffs have failed to include the hearing transcript in the record
        on appeal. Thus, we consider this argument waived. See Grayson O Co. v. Agadir Int’l
        LLC, 856 F.3d 307, 316 (4th Cir. 2017) (“A party waives an argument by failing to present
        it in its opening brief or by failing to develop its argument—even if its brief takes a passing
        shot at the issue.” (cleaned up)).

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                                                                               FILED: July 12, 2022


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

                 No. 21-1460, Darlene Stinger v. Fort Lincoln Cemetery, LLC
                              8:20-cv-01052-TDC

                                         ________________________

                                        NOTICE OF JUDGMENT
                                         ________________________

        Judgment was entered on this date in accordance with Fed. R. App. P. 36. Please be
        advised of the following time periods:

        PETITION FOR WRIT OF CERTIORARI: The time to file a petition for writ of
        certiorari runs from the date of entry of the judgment sought to be reviewed, and not
        from the date of issuance of the mandate. If a petition for rehearing is timely filed in
        the court of appeals, the time to file the petition for writ of certiorari for all parties runs
        from the date of the denial of the petition for rehearing or, if the petition for rehearing
        is granted, the subsequent entry of judgment. See Rule 13 of the Rules of the Supreme
        Court of the United States; www.supremecourt.gov.

        VOUCHERS FOR PAYMENT OF APPOINTED OR ASSIGNED COUNSEL:
        Vouchers must be submitted within 60 days of entry of judgment or denial of
        rehearing, whichever is later. If counsel files a petition for certiorari, the 60-day period
        runs from filing the certiorari petition. (Loc. R. 46(d)). If payment is being made from
        CJA funds, counsel should submit the CJA 20 or CJA 30 Voucher through the CJA
        eVoucher system. In cases not covered by the Criminal Justice Act, counsel should
        submit the Assigned Counsel Voucher to the clerk's office for payment from the
        Attorney Admission Fund. An Assigned Counsel Voucher will be sent to counsel
        shortly after entry of judgment. Forms and instructions are also available on the court's
        web site, www.ca4.uscourts.gov, or from the clerk's office.

        BILL OF COSTS: A party to whom costs are allowable, who desires taxation of
        costs, shall file a Bill of Costs within 14 calendar days of entry of judgment. (FRAP
        39, Loc. R. 39(b)).
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        PETITION FOR REHEARING AND PETITION FOR REHEARING EN
        BANC: A petition for rehearing must be filed within 14 calendar days after entry of
        judgment, except that in civil cases in which the United States or its officer or agency
        is a party, the petition must be filed within 45 days after entry of judgment. A petition
        for rehearing en banc must be filed within the same time limits and in the same
        document as the petition for rehearing and must be clearly identified in the title. The
        only grounds for an extension of time to file a petition for rehearing are the death or
        serious illness of counsel or a family member (or of a party or family member in pro se
        cases) or an extraordinary circumstance wholly beyond the control of counsel or a
        party proceeding without counsel.

        Each case number to which the petition applies must be listed on the petition and
        included in the docket entry to identify the cases to which the petition applies. A
        timely filed petition for rehearing or petition for rehearing en banc stays the mandate
        and tolls the running of time for filing a petition for writ of certiorari. In consolidated
        criminal appeals, the filing of a petition for rehearing does not stay the mandate as to
        co-defendants not joining in the petition for rehearing. In consolidated civil appeals
        arising from the same civil action, the court's mandate will issue at the same time in all
        appeals.

        A petition for rehearing must contain an introduction stating that, in counsel's
        judgment, one or more of the following situations exist: (1) a material factual or legal
        matter was overlooked; (2) a change in the law occurred after submission of the case
        and was overlooked; (3) the opinion conflicts with a decision of the U.S. Supreme
        Court, this court, or another court of appeals, and the conflict was not addressed; or (4)
        the case involves one or more questions of exceptional importance. A petition for
        rehearing, with or without a petition for rehearing en banc, may not exceed 3900 words
        if prepared by computer and may not exceed 15 pages if handwritten or prepared on a
        typewriter. Copies are not required unless requested by the court. (FRAP 35 & 40,
        Loc. R. 40(c)).

        MANDATE: In original proceedings before this court, there is no mandate. Unless the
        court shortens or extends the time, in all other cases, the mandate issues 7 days after
        the expiration of the time for filing a petition for rehearing. A timely petition for
        rehearing, petition for rehearing en banc, or motion to stay the mandate will stay
        issuance of the mandate. If the petition or motion is denied, the mandate will issue 7
        days later. A motion to stay the mandate will ordinarily be denied, unless the motion
        presents a substantial question or otherwise sets forth good or probable cause for a
        stay. (FRAP 41, Loc. R. 41).
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                   U.S. COURT OF APPEAL FOR THE FOURTH CIRCUIT BILL OF COSTS FORM
                                              (Civil Cases)

         Directions: Under FRAP 39(a), the costs of appeal in a civil action are generally taxed against appellant if a
         judgment is affirmed or the appeal is dismissed. Costs are generally taxed against appellee if a judgment is
         reversed. If a judgment is affirmed in part, reversed in part, modified, or vacated, costs are taxed as the court
         orders. A party who wants costs taxed must, within 14 days after entry of judgment, file an itemized and
         verified bill of costs, as follows:
         • Itemize any fee paid for docketing the appeal. The fee for docketing a case in the court of appeals is $500
         (effective 12/1/2013). The $5 fee for filing a notice of appeal is recoverable as a cost in the district court.
         • Itemize the costs (not to exceed $.15 per page) for copying the necessary number of formal briefs and
         appendices. (Effective 10/1/2015, the court requires 1 copy when filed; 3 more copies when tentatively
         calendared; 0 copies for service unless brief/appendix is sealed.). The court bases the cost award on the page
         count of the electronic brief/appendix. Costs for briefs filed under an informal briefing order are not
         recoverable.
         • Cite the statutory authority for an award of costs if costs are sought for or against the United States. See 28
         U.S.C. § 2412 (limiting costs to civil actions); 28 U.S.C. § 1915(f)(1) (prohibiting award of costs against the
         United States in cases proceeding without prepayment of fees).
         Any objections to the bill of costs must be filed within 14 days of service of the bill of costs. Costs are paid
         directly to the prevailing party or counsel, not to the clerk's office.

        Case Number & Caption: _____________________________________________________

        Prevailing Party Requesting Taxation of Costs: ____________________________________

         Appellate Docketing Fee (prevailing
         appellants):
                                                         Amount Requested: ______                  Amount Allowed: _____
                                                                                          Page
          Document               No. of Pages                  No. of Copies              Cost                Total Cost
                                                                                         (<$.15)
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                           Requested (court                                                        Requested           Allowed
                                            use only)   (court use only)                                              (court use only)




         TOTAL BILL OF COSTS:                                                                             $0.00                  $0.00

        1. If copying was done commercially, I have attached itemized bills. If copying was done in-house, I certify that my
        standard billing amount is not less than $.15 per copy or, if less, I have reduced the amount charged to the lesser rate.
        2. If costs are sought for or against the United States, I further certify that 28 U.S.C. § 2412 permits an award of costs.
        3. I declare under penalty of perjury that these costs are true and correct and were necessarily incurred in this action.

        Signature: __________________________________                        Date: _____________________________

                                                          Certificate of Service

        I certify that on this date I served this document as follows:

        Signature: _______________________________                       Date: _________________________________
